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                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

FEDERAL TRADE COMMISSION, and                     )
                                                  )
STATE OF FLORIDA, OFFICE OF THE                   )
ATTORNEY GENERAL, DEPARTMENT                      )
OF LEGAL AFFAIRS,                                 )
                                                  )       Case No. 15 CV 5781
                      Plaintiffs,                 )
                                                  )       Judge Feinerman
            v.                                    )
                                                  )       Magistrate Judge Gilbert
LIFEWATCH INC., a New York corporation,           )
also d/b/a LIFEWATCH USA and MEDICAL              )
ALARM SYSTEMS, and                                )
                                                  )
EVAN SIRLIN, individually and as an officer       )
or manager of Lifewatch Inc.,                     )
                                                  )
                     Defendants.                  )

                           MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 83.17, Defendants’ counsel GREENSFELDER, HEMKER &

GALE, P.C. (“Greensfelder”) and its attorneys David B. Goodman, Patrick J. Cotter, Thadford

A. Felton, Courtney A. Adair, and Elizabeth Austermuehle move to withdraw as Defendants’

counsel of record. In support of its motion, Greensfelder states:

       1.        The Attorney-Client relationship between Greensfelder and Defendants,

                 Lifewatch Inc. and Evan Sirlin, is irrevocably broken making further legal

                 representation not possible.

       2.        The Sultzer Law Group, Jason Sultzer and Joseph Lipari are already counsel for

                 Defendants in this matter and will continue to be the Defendants’ litigation

                 counsel. No trial date has been set, and there are no motions pending.
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       3.     The FTC, through its counsel, have advised that they do not object to this motion

              nor do they object to having this motion heard with less than three days’ notice.

       WHEREFORE, Greensfelder and each of its attorneys respectfully request that this Court

grant this motion and enter an order allowing Greensfelder to withdraw from this case.

                                            Respectfully submitted,

                                            GREENSFELDER, HEMKER AND GALE, P.C.


                                            By:    /s/ David B. Goodman
                                                     One of Its Attorneys


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Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

        I, David B. Goodman, an attorney, hereby certify that on April 11, 2016, I electronically
filed the foregoing Motion to Withdraw as Counsel, with the Court using the CM/ECF system,
which will automatically send copies to all attorneys of record in the case.



                                      /s/ David B. Goodman
                                        David B. Goodman




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